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 8
 9
10                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                       OAKLAND DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)               MASTER FILE NO. 4:07-cv-5944-JST
14   ANTITRUST LITIGATION                        Case No.: 4:13-cv-03234-JST
15                                               MDL NO. 1917
     This Document Relates to:
16
     INDIRECT PURCHASER ACTIONS FOR              DECLARATION OF JOSEPH M. FISHER
17   THE 22 STATES                               RE: NOTICE, CLAIMS PROCESSING AND
                                                 DISTRIBUTION OF SETTLEMENT FUNDS
18
                                                 Hearing Date:
19                                               Time:
                                                 Courtroom:
20                                               Judge:
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             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1          I, Joseph M. Fisher, declare:

 2                                             INTRODUCTION
 3          1.      Identification. I am the president of The Notice Company, Inc., a Massachusetts

 4   corporation with offices at 94 Station Street, Hingham, MA 02043 (“The Notice Company” or
 5   “Settlement Administrator”). The Notice Company is principally engaged in the administration of
 6   class action settlements and lawsuits pending in courts around the United States, including the
 7   dissemination of notice to class members, administering the claims process, and distributing the
 8   proceeds of the litigation to the class. I have over 15 years of experience assisting attorneys with class
 9   action notices and claims administration. I am also a member in good standing of the bars of the
10   Commonwealth of Massachusetts, the District of Columbia, and the Commonwealth of Virginia. I
11   am over 21 years of age and not a party to this action. I have personal knowledge of the facts set forth
12   herein and, if called as a witness, could and would testify thereto under oath.
13          2.      I make this declaration to report on: (a) a summary of Notice Procedures; (b) The
14   Notice Company’s processing and validating the claims received; (c) calculating the total qualifying
15   indirect purchases of “CRT Products” by “End Users” and “Resellers”; and (d) providing the
16   methodology for calculating the pro rata share of the Net Settlement Funds to be distributed to
17   approved claimants.
18          3.      “CRT Products” refers to products containing Cathode Ray Tubes (“CRTs”). “End
19   Users” refers to persons or entities who purchased CRT Products for their own use and not for resale.
20   “Resellers” refers to persons or entities who purchased CRT Products for the purpose of resale. This
21   Declaration is limited to claims by indirect purchasers and excludes claims for purchases made directly
22   from any of the defendant manufacturers. “Class Member” refers to persons or entities who qualify as
23   members of any of the certified and approved Settlements for indirect purchasers of CRT Products as
24   described below.
25                                SUMMARY OF NOTICE PROCEDURES
26          4.      I previously reported on implementation of notice programs for indirect purchasers of
27   CRTs in my declarations filed with the Court as follows:
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 1                  * ECF No. 1063: Declaration of Joseph M. Fisher Reporting on the Class Notice

 2          Program for Settlement with Defendant Chunghwa Picture Tubes, Ltd., filed March 1, 2012;
 3                  * ECF No. 2511: Declaration of Joseph M. Fisher Reporting on the Class Notice

 4          Program for the Certified Class and the Settlement with LG Defendants, filed March 28, 2014;
 5                  * ECF No. 3863: Declaration of Joseph M. Fisher Re Notice Program in Support of
 6          Motion for Preliminary Approval of Class Action Settlements with the Philips, Panasonic,
 7          Hitachi, Toshiba and Samsung SDI Defendants, filed May 29, 2015;
 8                  * ECF No. 4371: Declaration of Joseph M. Fisher Reporting on Class Notice
 9          (Nationwide Class and Statewide Damages Classes), filed February 4, 2016;
10                  * ECF No. 4372: Declaration of Joseph M. Fisher Re Objections to Notice, filed
11          February 4, 2016;
12                  * ECF No. 4488: Declaration of Joseph M. Fisher Re Notice of Chunghwa Plan of
13          Distribution, filed March 15, 2016;
14                  * ECF No. 4953-1: Declaration of Joseph M. Fisher Reporting on Chunghwa Notice,
15          filed October 11, 2016;
16                  * ECF No. 5587-2: Declaration of Joseph M. Fisher Re Amendments To The
17          Settlements, filed September 16, 2019; and
18                  * ECF No. 5758-1: Declaration of Joseph M. Fisher Re Implementation of Notice Plan,
19          filed June 12, 2020;
20          5.      The Notice Company implemented notice programs for the indirect purchaser
21   settlements as follows:
22                  a.     Chunghwa Settlement: First Notice Program. Dissemination of notice relating
23          to the Chunghwa Settlement Agreement (“Chunghwa Notice 1”) began in October 2011,
24          affording Class Members the opportunity to object to or request exclusion from the Settlement.
25          Print notices appeared in Parade Magazine, USA Weekend magazine, USA Today, The Sunday
26          New York Times and El Nueva Dia; a press release was distributed through PR Newswire,
27          which was picked up and posted/published by 225 news organizations and media outlets, such
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 1      as Reuters and Yahoo Finance; notices were posted online in both English and Spanish; and

 2      notice was sent by first-class mail to every Fortune 500 Company for each of the class years
 3      (1995 to 2007), to the largest private colleges, universities and private secondary schools in

 4      the United States, to major resellers of consumer electronic products, to the 50 largest hospitals
 5      in the United States, and to 57 attorneys general.
 6             b.      Certified Class and LG Settlement Notice Program. Dissemination of notice
 7      relating to the “Litigated Class” of indirect, end-user purchasers of CRTs and to the LG
 8      Settlement Class (“LG Notice”) began in January 2014, affording Class Members the
 9      opportunity to object to or request exclusion from the Settlement. Print notices appeared in The
10      Sunday Parade Magazine, USA Weekend magazine, USA Today, New York Times and El
11      Nueva Dia; a press release was distributed through PR Newswire, which was picked up and
12      posted/published by 239 news organizations and media outlets, such as Reuters and Yahoo
13      Finance; notices were posted online in both English and Spanish; and notice was sent by first-
14      class mail to every Fortune 500 Company for each of the class years (1995 to 2007), to the
15      largest private colleges, universities and private secondary schools in the United States, to
16      major resellers of consumer electronic products, to the 50 largest hospitals in the United States,
17      and to 57 attorneys general.
18             c.      Notice of Five New Settlements, Including Notice of the Claims Process.
19      Dissemination of notice relating to the “Nationwide Class” and “Statewide Damages Classes”
20      of indirect, end-user purchasers of CRTs began in July 2015, affording Class Members the
21      opportunity to submit claims and to object to or request exclusion from the five Settlements.
22      Print notices appeared in The Sunday Parade Magazine, American Profile Sunday magazine,
23      The Wall Street Journal, USA Today, The Sunday New York Times, San Francisco Chronicle,
24      El Nueva Dia, People magazine, Time magazine, Sports Illustrated and TV Guide; press
25      releases in English and Spanish were distributed through PR Newswire and were picked up
26      and posted/published by 284 news organizations and media outlets in the United States and at
27      least 15 other countries; notices were posted online in both English and Spanish at
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 1      www.CRTclaims.com resulting in approximately 2 million page views; and notice was

 2      disseminated via paid digital media through TVinsider.com, Parade.com, Facebook.com,
 3      Google Ads, Google Search, and Yahoo! Bing Search. The digital and print media campaign

 4      reached an estimated 83% of the target demographic with an estimated frequency of 3.1. In
 5      addition to the digital and print media program, notice was sent by first-class mail to every
 6      Fortune 500 Company for each of the class years (1995 to 2007), to the largest private colleges,
 7      universities and private secondary schools in the United States, to major resellers of consumer
 8      electronic products and to the 50 largest hospitals in the United States. Further, more than 10.5
 9      million notices were delivered by email, including emails delivered to more than 6.3 million
10      consumers and to more than 1.4 million small businesses who were selected based on
11      demographic characteristics consistent with the Class definition. All notices identified the
12      Court-approved deadline of December 7, 2015, for the submission of claims.
13             d.      Chunghwa Settlement: Second Notice Program. Dissemination of notice
14      relating to the Chunghwa Settlement Agreement (“Chunghwa Notice 2”) began in July 2016,
15      to notify Resellers of the distribution of Chunghwa funds, to afford Resellers the opportunity
16      to object to the plan of distribution, to allow Resellers to submit claims for payment from the
17      Chunghwa settlement, to inform end-user claimants of the distribution of Chunghwa funds,
18      and to afford such End Users the opportunity to object to the plan of distribution. Notice was
19      mailed to all Resellers qualifying under the Chunghwa Settlement as identified utilizing the
20      North American Industry Classification System (NAICS); notice was sent by email to
21      Resellers identified by the Consumer Technology Publishing Group (CTPG); and notices were
22      posted online in both English and Spanish at www.CRTclaims.com. Additional notice was
23      provided through a digital program of paid website banner ads targeted to Resellers, print
24      notice published in the national edition of The Sunday New York Times, and nationwide press
25      releases, in both English and Spanish, distributed through PR Newswire that were picked up
26      and posted/published by 360 news organizations. All end-user claimants were sent notice by
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 1          email or, in the absence of a valid email address, by regular mail. All notices identified the

 2          Court-approved deadline of November 29, 2016, for the submission of claims by Resellers.
 3                  e.     Notice of Amendments to the Settlements. Dissemination of notice relating to

 4          the Amendments to the Settlements1 began in March 2020 to notify all claimants of the
 5          amendments and reduced fee award, to afford them an opportunity to submit objections or
 6          comments, and to inform them of the date of the Fairness Hearing. Notice was provided by
 7          email, or by regular mail in the absence of a valid email address, to all claimants or their
 8          designated representatives, to all persons who previously objected or requested exclusion from
 9          the Settlements, or who otherwise had contacted The Notice Company with a request that they
10          be notified of developments in the case. The Notice List consisted of 94,321 entries. Notices
11          in both English and Spanish were posted at the Settlement Website, www.CRTclaims.com.
12          6.      As part of each of the notice programs described above, The Notice Company
13   established and maintained a dedicated website, toll-free phone line, and Post Office address where
14   potential Class Members could access or request additional documents and information relating to the
15   Settlements, including copies of the notices, claim forms, and other Court documents.
16                                    REQUESTS FOR EXCLUSION
17          7.      Class Members were afforded the opportunity to request exclusion (opt out) from each
18   of the settlements. Exclusion from one settlement did not preclude Class Members from participating
19   in other settlements. For Class Member who were both End Users and Resellers, exclusion in one
20   capacity did not preclude participation in the other capacity. The Notice Company received a total of
21   14 requests for exclusion from 4 individuals and 10 companies. The Court granted all exclusion
22   requests. Attached hereto as Exhibit A is a list of all excluded persons and entities along with detail
23   identifying to which settlement each exclusion applies.
24                               SUMMARY OF THE CLAIMS PROCESS
25          8.      Eligible Class Members were urged to submit a claim online at www.CRTclaims.com.
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27   1
       Amendments to the Settlements refers to the amendments that reduced the gross value of the
28   Settlements by $29,000,000 accompanied by a corresponding reduction in attorneys’ fees.
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 1   The “Claim Form” could be found and completed or downloaded at www.CRTclaims.com, or Class

 2   Members could obtain a copy by calling the Settlement Administrator toll free at 1-800-649-0963 or
 3   by texting “CRTclaims” to 97000. The Claim Form, which was available in both English and Spanish,

 4   requested Class Members to verify their eligibility under the Class Settlements, to provide purchase
 5   data and contact information, and included a declaration of accuracy to be signed under penalty of
 6   perjury. ECF Nos. 4371-5 and 4371-6. Online claims were required to be submitted on or before
 7   December 7, 2015. Claim Forms submitted by mail were required to be postmarked by December 7,
 8   2015. The Court granted a request by the California Attorney General to extend the deadline for natural
 9   persons residing in California to submit claims to June 30, 2016. ECF No. 4339. “Timely Claims” for
10   End Users means those claims submitted in accordance with the respective deadlines of December 7,
11   2015 and June 30, 2016. For Resellers, “Timely Claims” means claims submitted on or before
12   November 29, 2016. Claims submitted after the Court-ordered deadlines are “Late Claims.”
13          9.      Notices to Class Members clearly explained that CRT Products were being categorized
14   as Standard CRT Televisions (screen size of less than 30 inches), Large CRT Televisions (screen size
15   of 30 inches or larger), or CRT Computer Monitors. See, for example, the Detailed Notice
16   disseminated in 2015 (ECF No. 4371-1 at p. 8, ¶ 9). Based on data obtained during the course of the
17   litigation, the plan for distribution assigned weights to different types of CRT Products based on the
18   overcharge evidence for each. Weights were assigned as follows: Claims for purchases of Standard
19   CRT Televisions were weighted as 1; Claims for purchases of Large CRT Televisions were weighted
20   as 4.3; and Claims for purchases of CRT Computer Monitors were weighted as 3. The Court approved
21   these weightings, and the plans of allocation in which they were included, in its Final Approval Orders
22   entered July 7, 2016 (ECF No. 4712), at pp. 26-29 and p. 37 ¶ 8, and November 11, 2016 (ECF No.
23   5040), and reaffirmed that approval in its Final Approval Order as to the amended settlements, entered
24   July 13, 2020 (ECF No. 5786) at p. 20. “CRT Weighted Units” refers to the number of CRT Products
25   calculated using the weights as described in this paragraph.
26          10.     The Settlement Administrator received a total of 156,467 claims through May 5, 2020,
27   including more than 55,000 claims that were submitted as paper claims. End Users submitted 145,191
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 1   Timely Claims with CRT Weighted Units claimed totaling 399,331,586,327. Another 5,263 Timely

 2   Claims were submitted by Resellers with CRT Weighted Units claimed totaling 1,266,905,808. As
 3   discussed below, the Settlement Administrator conducted an extensive review and audit process to

 4   verify these claims, resulting in the acceptance (a) for End Users: 133,455 Timely Claims for
 5   22,150,784 CRT Products representing 63,639,938 CRT Weighted Units and (b) for Resellers: 4,906
 6   Timely Claims for 114,539,895 CRT Products representing 337,124,668 CRT Weighted Units.
 7          11.       Subsequent to the Court-approved deadlines for the submission of Timely Claims, the
 8   Settlement Administrator continued to receive claim submissions both electronically and by mail
 9   (“Late Claims” as defined above at ¶ 8). The Settlement Administrator continued to process and review
10   Late Claims that were submitted through May 5, 2020 (the “Cutoff Date”). For End Users, the
11   Settlement Administrator received 4,901 Late Claims submitted by the Cutoff Date amounting to
12   43,373,930 CRT Weighted Units. For Resellers, the Settlement Administrator received 1,112 Late
13   Claims submitted by the Cutoff Date amounting to 10,675,846 CRT Weighted Units. After review,
14   the Settlement Administrator found acceptable (a) for End Users: 3,914 Late Claims for 4,848,272
15   CRT Products representing 13,660,884 CRT Weighted Units and (b) for Resellers: 1,099 Late Claims
16   for 2,664,686 CRT Products representing 7,842,956 CRT Weighted Units.
17          12.       The Settlement Administrator reviewed each Claim form received by the Cutoff Date
18   for compliance with the Settlements’ requirements. Some claims were found to be deficient or
19   incomplete. Among the various types of deficiencies found were the following:
20                •   claims that were clearly outliers representing numbers that appear to be anomalies or
21                    that materially deviate from an expected range, for example, an individual claiming to
22                    have purchased billions of CRT Products (“Outlier Claims”);
23                •   claims submitted by a third-party representative or agent on behalf of a claimant
24                    (“Claims Aggregator”) who failed to provide purchase quantities for CRT Products on
25                    the Claim Form or only partially completed this information so that the Claim Form
26                    showed “N/A” or “TBD” or “0” or was blank or some combination thereof (referred to
27                    as “Placeholder Claims”);
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 1               •   claimants who directly submitted (not through a Claims Aggregator) incomplete claim

 2                   forms, including missing name and/or contact information, missing claim eligibility
 3                   information, missing purchase quantities, or failure to sign the Proof of Claim form;

 4               •   claims for ineligible purchases, such as purchases of CRT Products directly from any
 5                   of the Defendants, purchases of non-CRT Products, purchases of Sony-branded
 6                   products, purchases made outside of the Class Period, purchases made outside of the
 7                   United States, purchases made in a state that is not one of the 22 eligible states under
 8                   the Settlements, or multi-state purchases where central purchasing of all CRT Products
 9                   was asserted to have occurred in one of the eligible states;
10               •   claims submitted by a Claims Aggregator on behalf of a claimant without an agreement
11                   demonstrating the authority of the Claims Aggregator to act as the claimant’s agent or
12                   representative;
13               •   duplicate claims submitted by the same corporate claimant, for example, a parent
14                   corporation submitting a claim that was inclusive of the CRT purchases of a subsidiary,
15                   where the subsidiary had already submitted its own claim for those purchases;
16               •   duplicate claims submitted by the same individuals, for example, the same individuals
17                   submitting multiple claims with slight variations in their contact information, or
18                   multiple claims from persons residing at the same address that appeared to represent
19                   duplicate purchases of CRT Products;
20               •   “Competing Claims” submitted by Claims Aggregators, where two Claims
21                   Aggregators each submitted a claim on behalf of the same claimant;
22               •   inflated claims where claimants asserted that all CRT televisions purchased were Large
23                   rather than Standard sized (for which the overcharge and assigned CRT Weighted Units
24                   were significantly higher) or that CRT Products were replaced at twice the industry
25                   average;
26         13.       When an Outlier Claim was detected, the Settlement Administrator contacted the
27   claimant and requested verification of the claim. In no instance was adequate verification or
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 1   documentation received that could substantiate the extraordinary number of units claimed. The

 2   Settlement Administrator denied 25 end-user Outlier Claims as unsubstantiated claims, resulting in
 3   the removal of 398,813,815,013 CRT Weighted Units. The Settlement Administrator denied 6 Reseller

 4   Outlier Claims as unsubstantiated claims, resulting in the removal of 843,588,656 CRT Weighted
 5   Units. All of these denied claimants were sent notice of the denial. After removal of the Outlier Claims,
 6   there were 150,067 claims by End Users for 142,115,475 CRT Products representing 561,145,244
 7   CRT Weighted Units, and 6,369 claims by Resellers for 143,700,714 CRT Products representing
 8   433,992,997 CRT Weighted Units.
 9          14.     When Placeholder Claims submitted by Claims Aggregators were identified, the
10   Settlement Administrator contacted the Claims Aggregator to request that the missing claims data be
11   provided. If the Claims Aggregator did not provide the missing numbers of CRT Units by the Cutoff
12   Date, the Settlement Administrator informed the Claims Aggregator that the claim would be denied.
13          15.     When the Settlement Administrator identified ineligible purchases in a claim
14   submission, it contacted the claimant or its authorized representative, identified the issue and provided
15   an opportunity for the claim to be corrected. In some cases, when data was available that would allow
16   the Settlement Administrator to correct the problem (for example, a portion of the CRT purchases
17   identified as being made in an ineligible state), the Settlement Administrator would inform the
18   claimant of a proposed adjustment to the submitted claim that would be applied in the absence of any
19   further response from the claimant.
20          16.     When the Settlement Administrator identified duplicate claims, it issued notices of
21   duplication with specific instructions and deadlines to resolve the duplicate issue. Examples of
22   duplicate claims included exact matches between two claims, near-exact matches (such as two entities
23   at the exact same address with slight variations in the name), overlapping claims within a household,
24   or a parent-subsidiary duplicate. The Settlement Administrator informed claimants or their authorized
25   representatives how the duplicate issue would be resolved if sufficient responses were not received.
26   In the event that a set of duplicate claims were all submitted on the same date, the Settlement
27   Administrator selected one claim and informed all the affected claimants of this selection. In the event
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 1   that a set of duplicate claims were submitted on different dates, the Settlement Administrator applied

 2   the following “Priority Rule”: More recent submissions would be treated as an update to prior
 3   submissions and would be utilized, with one exception; if the more recent submission was a Late

 4   Claim, then the Settlement Administrator would utilize the last-filed Timely Claim. In all instances
 5   the affected claimants were afforded an opportunity to request a different approach for resolving their
 6   duplicate claim submissions.
 7          17.     When the Settlement Administrator identified individual claims as potentially
 8   duplicative (for example, multiple claims submitted from a single mailing address or from a single IP
 9   address, excluding claims submitted by Claims Aggregators), the Settlement Administrator sent a
10   Notice of Deficiency which included a request for supporting documentation. Where no response was
11   provided, duplicative claims were rejected without further outreach or reduced to a minimum value of
12   $25 when the Settlement Administrator determined that the claimant had a reasonable basis for
13   asserting the purchase of at least one CRT Product. When responses were provided, the Settlement
14   Administrator reviewed the responses and provided a determination.
15          18.     When the Settlement Administrator identified Competing Claims submitted by two
16   Claims Aggregators, it informed the respective Claims Aggregators of the duplication and requested
17   that they resolve the overlap among themselves and with the claimant. An agreement signed by both
18   Claims Aggregators, or a letter of direction signed by the claimant, or the withdrawal by one of the
19   Claims Aggregators of its competing claim submission, was sufficient to resolve the Competing
20   Claims. If no resolution was received from the Claim Aggregators or the claimant, the Settlement
21   Administrator implemented the Priority Rule identified above and informed the Claims Aggregators
22   of its determination. As of the date hereof, all identified Completing Claims have been determined as
23   described in this paragraph.
24          19.     When the Settlement Administrator identified inflated claims, claims from ineligible
25   states, or claims based on assertions of company purchases made from a central office in one of the
26   22 eligible states, the Settlement Administrator was required to investigate and procure data regarding
27   the types and frequency of CRT Product purchases by certain types of business during the Class
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 1   Period, or investigate whether the claimant did, in fact, purchase their CRT Products from a central

 2   office located in one of the 22 States, which required numerous communications with the claimant or
 3   its representative to substantiate their claims.

 4           20.     When the Settlement Administrator identified other deficiencies, it sent a “Notice of
 5   Deficiency” to claimants or their representatives and provided them with an opportunity to correct the
 6   incomplete or deficient nature of their claims. When no response was provided, the Settlement
 7   Administrator rejected the deficient claim and sent notice of such rejection or, when the Settlement
 8   Administrator determined that the claimant had a good-faith basis for asserting the purchase of at least
 9   one CRT Product, it reduced the claim to the minimum value of $25. When the claimant or its
10   representative responded to a Notice of Deficiency, the Settlement Administrator reviewed the
11   response and, if the response was adequate, corrected the deficiency as requested by the claimant. If
12   the response was not adequate, the claimant or its representative was so informed and requested
13   promptly to update its response.
14           21.     The Settlement Administrator issued its notifications to claimants on a rolling basis as
15   claims were received and as warranted by reviews. To the extent multiple claims could be addressed
16   in a single notice to a Claims Aggregator, the notices were consolidated. All notices regarding the
17   rejection (in whole or in part) of a claim contained a response deadline which could vary based on
18   specific circumstances or discussions with the claimant. To the extent a claimant requested additional
19   time to respond or submitted a response within a reasonable time after a given deadline, the Settlement
20   Administrator considered those responses to be timely if relevant documentation or information was
21   provided.
22                                    AUDIT CRITERIA AND RESULTS
23           22.     All claims were subject to review and/or audit by the Settlement Administrator. For
24   claims submitted directly by Class Members, the Settlement Administrator set an audit threshold at
25   purchases of 30 CRT Products for individual claims, 100 CRT Products for small businesses, 250 CRT
26   Products for medium businesses, and 1,000 CRT Products for large businesses, where business size
27   was based on the number of employees as reported by the claimant. Where business size could not be
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 1   determined, the audit threshold was set at the purchase of 50 CRT Products. Claimants were selected

 2   and placed into an audit pool consisting of 2,190 entities. For claims submitted by Claims Aggregators,
 3   the Settlement Administrator began by auditing large claims, meaning the top 5% of claims submitted

 4   by each Claims Aggregator. If the Settlement Administrator found that its audits resulted in substantial
 5   reductions of claimed purchases of CRT Products for a Claims Aggregator, then other claims
 6   submitted by that Claims Aggregator were added to the audit list. The Settlement Administrator also
 7   selected additional claims for audit based on comparisons of claim submissions by comparable
 8   companies.
 9           23.       Considering all submitted claims, including Outlier Claims, reviews and audits were
10   performed on claims that represent over 99% of all CRT Weighted Units claimed. Excluding Outlier
11   Claims, reviews and audits were performed on 53,589 claims that accounted for over 98% of claimed
12   CRT Weighted Units. The audit process involved reviewing voluminous purchase data and multiple
13   sources of documentation for numerous claims. Other claims had little or no contemporaneous
14   purchase records available which required vetting by other means, such as investigations of publicly
15   available records, CRT television and computer monitor industry data, and other third-party data
16   sources. The Settlement Administrator reviewed and evaluated the claimed CRT Weighted Units as
17   follows: 83% were directly reviewed or audited; 9% were submitted by a Claims Aggregator whose
18   previous audits resulted in no (zero) reduction in units claimed, leading the Settlement Administrator
19   to treat further audits of their claims as not justified; and over 6% were submitted by Claims
20   Aggregators that previously resolved audits for other claims in a manner that demonstrated a
21   reasonable process for validating the claims submission process and accepting the calculations
22   utilized.
23           24.       Audit notices were sent to all audited claims, providing instructions to claimants or
24   their representatives on how to respond to the audit and the deadline for responses. If no response was
25   received, a second-chance audit notice was sent, providing a new deadline for response and informing
26   the claimant that if no response was received, then claimed purchases of numerous CRT Products
27   would be reduced to a claim for a $25 minimum payment. When the Settlement Administrator received
28
                                                         12
                 DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                                  SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1   responses with sufficient support for the originally claimed units, or for revised purchase quantities

 2   submitted by the claimant or its authorized representative, the claims were accepted or revised and the
 3   audit was closed. For those audits where questions remained after audit responses were received and

 4   more information was required, the Settlement Administrator pursued follow-up communications until
 5   the audit was resolved with the claimant. In some cases Class Counsel was involved in assisting and
 6   resolving disputed audits.
 7          25.       Timely Claims submitted by End Users were resolved as follows:
 8                •   145,191 Timely Claims were submitted;
 9                •   11,095 were withdrawn or marked as duplicates;
10                •   25 were denied as Outlier Claims;
11                •   616 were rejected due to claim deficiencies (for example, direct purchaser claims or
12                    purchases made in ineligible states);
13                •   4,207 were accepted with an adjustment in the number of CRT Products claimed;
14                •   31,322 were reduced to a minimum claim value of $25;
15                •   97,926 were accepted with no change from the original number of CRT Products
16                    claimed;
17                •   a total of 133,455 claims were accepted, either partially or fully based on original
18                    submissions, representing 63,639,938 CRT Weighted Units in the aggregate; and
19                •   an estimated 12,149 claims with relatively low numbers of CRT purchases will have
20                    their payment increased to $25 from what would otherwise result from a pro rata
21                    distribution of funds.
22          26.       Late Claims Submitted by End Users as of the Cutoff Date were resolved as follows:
23                •   4,901 Late Claims submitted;
24                •   625 were withdrawn or marked as duplicates;
25                •   362 were rejected due to claim deficiencies;
26                •   535 were accepted with a reduction in CRT Products claimed;
27                •   251 were reduced to a minimum claim value of $25;
28
                                                          13
             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
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 1             •   3,128 were accepted with no change from the original number of CRT Products

 2                 claimed;
 3             •   a total of 3,914 Late Claims will be accepted, either partially or fully based on original

 4                 submissions, representing 13,660,884 CRT Weighted Units in the aggregate; and
 5             •   an estimated 486 Late Claims with relatively low numbers of CRT Product purchases
 6                 will have their payment increased to $25 from what would otherwise result from a pro
 7                 rata distribution of funds.
 8       27.       Timely Claims submitted by Resellers were resolved as follows:
 9             •   5,263 Timely Claims were submitted;
10             •   335 were withdrawn or marked as duplicates;
11             •   6 were denied as outliers;
12             •   16 were rejected due to claim deficiencies;
13             •   173 were accepted with a reduction in CRT Products claimed;
14             •   4,733 were accepted with no change from the original number of CRT Products
15                 claimed;
16             •   a total of 4,906 claims were accepted, either partially or fully based on original
17                 submissions, representing 337,124,668 CRT Weighted Units in the aggregate; and
18             •   an estimated 4,584 claims with relatively low numbers of CRT Product purchases will
19                 have their payment increased to $25 from what would otherwise result from a pro rata
20                 distribution of funds.
21       28.       Late Claims submitted by Resellers as of the Cutoff Date were resolved as follows:
22             •   1,112 Late Claims submitted;
23             •   13 were withdrawn or marked as duplicates;
24             •   18 were accepted with a reduction in CRT Products claimed;
25             •   1,081 were accepted with no change from the original number of CRT Products
26                 claimed;
27
28
                                                       14
         DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                          SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1                •   a total of 1,099 claims will be accepted, either partially or fully based on original

 2                    submissions, representing 7,842,956 CRT Weighted Units in the aggregate; and
 3                •   an estimated 1,059 claims with relatively low numbers of CRT Product purchases will

 4                    have their payment increased to $25 from what would otherwise result from a pro rata
 5                    distribution of funds
 6          29.       Late Claims, as reviewed above, are very large in terms of the number of claims, as
 7   well as the numbers of CRT Weighted Units which directly determine the monetary value of those
 8   claims. If all Late Claims were paid in full based on 100% of their CRT Weighted Units, the Late
 9   Claims would substantially dilute the value of Timely Claims.
10          30.       The Settlement Administrator’s review process identified and eliminated invalid
11   Outlier Claims for both End Users and Resellers. Excluding Outlier Claims, the Settlement
12   Administrator’s review process identified and eliminated 88% of the CRT Weighted Units from End
13   User Timely Claims, 65% from End User Late Claims, 20% of the CRT Weighted Units from Reseller
14   Timely Claims and 27% of the CRT Weighted Units from Reseller Late Claims.
15          31.       The Settlement Administrator has notified all claimants or their representatives of the
16   final determination of claims that were disputed or subject to audit. If, subsequent to the date of this
17   Declaration, the Settlement Administrator becomes aware of information that would render an
18   approved claim invalid or would materially alter the calculation of CRT Weighted Units, the
19   Settlement Administrator may deny or alter such claim consistent with the practices described in this
20   Declaration, or withhold payment until such issues are resolved.
21                                 NET SETTLEMENT FUNDS AMOUNTS
22          32.       Class Counsel administered the individual settlement funds and has confirmed to the
23   Settlement Administrator that after the addition of interest earned on the consolidated funds and after
24   the deduction of Court-authorized attorneys’ fees and expenses, litigation expenses and costs, notice
25   and claims administration costs (including current and projected costs), and the class representative
26   incentive awards proportionately from each settlement fund, the balance of Settlement Funds to be
27   distributed is $420,040,926.21 as of the date of this declaration. This breaks out to:
28
                                                        15
             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1      •   $     6,321,228.55 from the Chunghwa Settlement (the “Chunghwa Fund”);

 2      •   $ 128,592,095.15 from the Philips Settlement (the “Philips Fund”);
 3      •   $ 51,294,912.91 from the Panasonic Settlement (the “Panasonic Fund”);

 4      •   $ 18,484,638.88 from the LG Settlement (the “LG Fund”);
 5      •   $ 21,793,495.45 from the Toshiba Settlement (the “Toshiba Fund”);
 6      •   $ 19,949,672.76 from the Hitachi Settlement (the “Hitachi Fund”);
 7      •   $ 163,616,425.76 from the Samsung SDI Settlement (the “Samsung Fund”); and
 8      •   $     9,988,456.74 from the Thomson/TDA Settlement (the “Thomson Fund”).
 9          33.     To date, the Settlement Administrator has billed $2,803,183.42 in connection with five
10   (5) notice programs that began in 2011 for the Chunghwa settlement, with the most recent notice
11   program occurring in 2020 in connection with the amendments to the Settlements. The Settlement
12   Administrator submitted declarations that were filed with the Court reporting on each of these notice
13   programs as listed above at ¶ 4. The Settlement Administrator received payments for the notice
14   programs totaling $2,721,843.42 from the Defendants’ Escrow Accounts and $81,340.00 from Class
15   Counsel.
16          34.      To date, the Settlement Administrator has billed $3,602,006.62 in connection with
17   administration of the claims process for End Users and for Resellers that has lasted more than six and
18   a half years starting in September 2015 through May 2022. The Settlement Administrator received
19   payments for such services totaling $1,685,519.84 from the Defendants’ Escrow Accounts and
20   $1,817,246.65 from the Future Expense Fund. The Settlement Administrator’s billed but unpaid fees
21   total $99,240.13. Finally, the Settlement Administrator estimates that the remaining work will cost
22   between $500,000 and $600,000 in additional administration costs and fees associated with
23   distribution of payments to Class Members, reaching claimants who submitted claims nearly seven
24   years ago, ongoing communications with claimants and their representatives, and the closing of the
25   case in The Notice Company’s files. Attached hereto as Exhibit B is an accounting of the amounts
26   incurred as well as the estimated amount of administration fees remaining.
27
28
                                                      16
             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1          35.     Additionally, the Settlement Administrator proposes that a reserve of $10,000,000

 2   should be withheld, on a pro rata basis, from funds distributed to claimants being awarded $1 million
 3   or more, to address any contingencies that may arise with respect to claims, to pay for any

 4   unanticipated future fees or expenses that are authorized by the Court and incurred in connection with
 5   administering the Settlement, as well as any further escrow fees, taxes, and the costs of preparing
 6   appropriate tax returns. Should the requested reserve be approved, the funds remaining for distribution
 7   to approved claimants after withholding the reserve will be $410,040,926.21. The amount initially
 8   allocated for Resellers would be $3,068,846.70, calculated as 50% of the Chunghwa fund net of its
 9   pro rata share of the requested reserve fund. The amount initially allocated for End Users would be
10   $406,972,079.50, calculated as the balance of the Chunghwa fund plus the funds from the other
11   settlements, all net of the requested reserve fund. The reserve fund, to the extent unused, would be
12   distributed to those claimants who participated in funding the reserve amount. Payments will be issued
13   by check or electronically.
14                        CALCULATION OF APPROVED CLAIM AMOUNTS
15          36.     For End User claims, the distribution formula requires a weighted pro rata distribution
16   to all members of the 22 Indirect Purchaser State Classes that filed valid claims, subject to a minimum
17   payment of at least $25 per claimant and a maximum payment of three times the estimated money
18   damages per claimant. The minimum payment will be achieved by first calculating payments by
19   allocating funds based on each claimant’s CRT Weighted Units, identifying those claims that would
20   receive less than $25, and then going through a process of recalculating payments so that all claims
21   are grossed up to a $25 minimum payment. Class Counsel has informed me that, subject to the $25
22   minimum payment requirement, payments per claimant will not exceed the allowable maximum
23   amount so long as the Settlement Administrator calculates individual payments utilizing the assigned
24   weights associated with the purchased CRT Products as described above at ¶ 9.
25          37.     The Chunghwa Fund, which is currently valued at $6,321,228.55, or $6,137,693.41 net
26   of the reserve fund, is treated differently than funds from the other Settlements. The Court-approved
27   Plan of Distribution for the Chunghwa Settlement allocates to the Attorneys General of Illinois and
28
                                                       17
             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1   Oregon 8.59% and 2.37%, respectively, from the Chunghwa settlement fund. On January 25, 2019,

 2   the Court ordered the distribution of $540,788 to the Attorney General of Illinois and $149,204 to the
 3   Attorney General of Oregon. ECF No. 5376. Pursuant to the parties’ Joint Stipulation, there will be

 4   no further payments to Illinois or Oregon. ECF No. 5372. The balance of the fund is to be allocated
 5   pro rata among the remaining 22 states (including the District of Columbia), where each state’s pro
 6   rata share is determined by computing its population as a percentage of the total population of all 24
 7   states that were eligible to participate in the Chunghwa Settlement using Census figures from the year
 8   2000. A chart showing the population percentages to be applied when calculating the pro rata shares
 9   of each state is attached as Exhibit C hereto. Resellers will receive up to 50% of each state’s fund. The
10   remaining balance of the states’ funds will be allocated to each state’s End User claims.
11          38.     In order to allow for payment of Late Claims submitted on or before the Cutoff Date,
12   Class Counsel will seek Court approval of the following proposal for distribution of funds
13   (“Distribution Proposal”): (a) Late Claims submitted prior to the Cutoff Date will be paid at 50%
14   value, as compared to Timely Claims, which will be paid at 100% value; (b) application of the 50%
15   reduction to Late Claims will not reduce the value of any such claim to less than the minimum payment
16   of $25 (unless the minimum payment is reduced to less than $25 for all claimants); (c) Placeholder
17   Claims which as of the Cutoff Date did not show good-faith, bona fide number of CRT units purchased
18   will not be paid; and (d) if any residual remains in the Net Settlement Fund after distribution checks
19   become stale, such residual will be shared as follows: (i) if the residual is less than or equal to $12
20   million, it will be shared pro rata by the Late Claimants who were previously paid (other than those
21   awarded a minimum payment of $25), subject to a minimum threshold set at the Settlement
22   Administrator’s discretion, and (ii) if the residual is more than $12 million, it will be shared pro rata
23   by all claimants who were previously paid (other than those awarded a minimum payment of $25),
24   subject to a minimum threshold set at the Settlement Administrator’s discretion. All claimants were
25   informed of the Court-authorized deadlines for End Users, Resellers and California natural persons.
26   The Settlement website continues to inform claimants that the Court has not yet decided whether Late
27   Claims will be paid. The proposal to pay Late Claims at 50% value has been shared with the
28
                                                        18
             DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                              SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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 1   Aggregators and will be posted on the Settlement website. I believe the proposal properly balances the

 2   interests of all claimants.
 3           39.     A schedule showing claims for End Users is attached hereto as Exhibit D. The schedule

 4   lists all approved End User claimants showing the number of CRT Weighted Units approved for each
 5   claim. The number of CRT Weighted Units is reduced by 50% for Late Claims submitted on or before
 6   the Cutoff Date, as provided in the Distribution Proposal. Assuming the Court approves the payments
 7   from the Settlement funds requested by Class Counsel and approves the calculation of the Net
 8   Settlement Funds set forth above, a single CRT Weighted Unit has a Settlement value for End Users
 9   of approximately $5.90 subject to a $25 minimum payment per claimant. Thus, for example, an
10   individual End User claimant with an approved Timely Claim for one Large Television (4.3 CRT
11   Weighted Units), one Standard Television (1 CRT Weighted Unit), and three computer monitors (9
12   CRT Weighted Units) would receive approximately $84.37 based on a total of 14.3 CRT Weighted
13   Units. If this was a Late Claim, it would receive approximately $42.19. For End Users with claims
14   valued at or greater than $1 million who are subject to the $10,000,000 reserve fund, their initial
15   distribution would be based on a CRT Weighted Unit valued at $5.56.
16           40.     A schedule showing claims for Resellers is attached hereto as Exhibit E. The schedule
17   lists all approved Reseller claimants showing the number of CRT Weighted Units approved for each
18   claim. The number of CRT Weighted Units is reduced by 50% for Late Claims submitted on or before
19   the Cutoff Date, as provided in the Distribution Proposal. Assuming the Court approves the payments
20   from the Settlement funds requested by Class Counsel and approves the calculation of the Net
21   Settlement Funds set forth above, a CRT Weighted Unit has a Settlement value for Resellers of
22   approximately $0.01 subject to a $25 minimum payment per claimant.
23           I declare under penalty of perjury that the foregoing is true and correct to the best of my
24   knowledge.
25           Executed at Hingham, Massachusetts, this 23rd day of June, 2022.
26
27                                                          ___________________________
                                                                  JOSEPH M. FISHER
28
                                                       19
              DECLARATION OF JOSEPH M. FISHER RE: NOTICE, CLAIMS PROCESSING AND DISTRIBUTION OF
                               SETTLEMENT FUNDS – Master File No. 4:07-cv-5944-JST
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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT A
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                                     CRT EXCLUSIONS

                                                                                     Excluded from    Excluded    Excluded from
Exclusion
                                              Complete Description                     Chunghwa       from LG          2015
    #
                    Name                                                              Settlement     Settlement    Settlements
   1        Robert Robinson                                                                                             Yes
   2        Bonnie Bryant                                                                                               Yes
   3        Michael Katz                                                                                                Yes
                                  Alfred H. Siegel, as Trustee of the Circuit City
                                  Stores, Inc. Liquidating Trust, on behalf of
            Circuit City Stores                                                           Yes
                                  itself and Circuit City Stores, Inc. and its
   4                              affiliated debtors

                                  Old Comp Inc. and each of its parents,
                                  predecessors, successors, subsidiaries,
                                  agents, affiliates, partners, acquisitions,
                                  assignors, divisions, departments, and
                                  offices, including, but not limited to,
                                  -Old Comp Inc. (formerly known as
                                  CompUSA Inc.)
                                  -CompUSA GP Holdings Company
                                  -CompUSA Holdings Company
                                  -CompUSA Stores L.P.
            Old Comp              -CompUSA Management Company                             Yes
                                  -CompTeam Inc.
                                  -Cozone.com Inc.
                                  -BeOn Inc. (formerly known as CompUSA
                                  PC Inc.)
                                  -BeOn Operating Company (formerly known
                                  as CompUSA PC Operating Company)
                                  -Computer City Inc.
                                  -Good Guys Inc.
                                  -Good Guys California, Inc.
                                  -Goodguys.com Inc.
   5
            PBE Consumer          PBE Consumer Electronics, LLC and related
                                                                                          Yes
   6        Electronics           entities
                                  Douglas A. Kelley, as Chapter 11 Trustee for
                                  Petters Company, Inc. and related entities
            Petters Company                                                               Yes
                                  and as Receiver for Petters Company, LLC
   7                              and related entities
                                  RadioShack Corporation and each of its
                                  parents, predecessors, successors,
                                  subsidiaries, agents, affiliates, partners,
            Radioshack                                                                    Yes
                                  acquisitions, assignors, divisions,
                                  departments, and offices, including, but not
   8                              limited to, RadioShack Corporation




                                                             1 of 2
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                              CRT EXCLUSIONS

                       Sears, Roebuck and Co. and Kmart
                       Corporation and each of its parents,
                       predecessors, successors, subsidiaries,
                       agents, affiliates, partners, acquisitions,
                       assignors, divisions, departments, and
                       offices, including, but not limited to,
     Sears                                                            Yes         Yes
                       -Sears, Roebuck and Co.
                       -Sears Holding Corporation
                       -Sears Holdings Management Corporation
                       -Kmart Corporation
                       -Kmart Management Corporation
9                      -Kmart Holdings Corporation
                       Target Corporation and each of its parents,
                       predecessors, successors, subsidiaries,
                       agents, affiliates, partners, acquisitions,
     Target                                                           Yes
                       assignors, divisions, departments, and
                       offices, including,
10                     but not limited to, Target Corporation
                       ViewSonic Corporation and each of its
                       parents, predecessors, successors,
                       subsidiaries, agents, affiliates, partners,
                       acquisitions, assignors, divisions,
                       departments, and offices, including,
     ViewSonic                                                        Yes
                       but not limited to,
                       -Viewsonic Corporation
                       -ViewSonic International Corporation
                       -Viewsonic Display Limited
11                     -Viewsonic Hong Kong Limited
                       Wal-Mart Stores, Inc. and its subsidiaries
                       and affiliates, including but not limited to
                       Wal-Mart Stores East, LP; Wal-Mart Stores
                       Texas, LLC; Wal-Mart Louisiana, LLC; Wal-
     Wal-Mart          Mart Stores Arkansas, LLC; and                 Yes
                       Walmart.com USA, LLC (collectively
                       operating as Walmart); and Sam's West,
                       Inc. and Sam's East, Inc. (collectively
12                     operating as Sam's Club)
13   Rhodrick Harden   Rhodrick Harden from Columbus, Ohio            Yes
     McDonald's
14   Corporation                                                            Yes




                                                 2 of 2
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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT B
          Case 4:07-cv-05944-JST Document 6025-2 Filed 06/23/22 Page 25 of 28
The Notice Company, Inc.        CRT INDIRECT PURCHASER                        6/15/22
                                     COST SUMMARY
                                                                             PAID FROM
                                                                 PAID FROM
                                                                            DEFENDANTS'
                  NOTICE PROGRAM COSTS                            FUTURE
                                                                              ESCROW
                                                               EXPENSE FUND
                                                                               FUNDS
   10/4/11       Original Chunghwa Notice     $   377,268.50
  11/15/11       Original Chunghwa Notice     $    61,365.75
    2/1/12       Original Chunghwa Notice     $    61,365.75
                           TOTAL                                                $ 500,000.00

  12/24/13          Certified Class & LG      $   190,000.00
   1/27/14          Certified Class & LG      $   335,000.00
                           TOTAL                                                $ 525,000.00

   7/30/15       5-Defendants Settlement      $   525,000.00
   7/31/15       5-Defendants Settlement      $   475,000.00
    8/4/15       5-Defendants Settlement      $   625,000.00
                         TOTAL                                                  $ 1,625,000.00

   7/25/16       Chunghwa - Counsel Share     $    41,340.00
    8/2/16     Chunghwa - Defendants' Share   $    71,843.42                    $   71,843.42
                         TOTAL                $   113,183.42

                 Notice of Amendments to
   3/19/20                                  $      40,000.00
              Settlements - Counsel Payment

                   TOTAL NOTICE COSTS         $ 2,803,183.42                    $ 2,721,843.42

       CLAIMS ADMINISTRATION (End Users & Resellers)
                   PAYMENTS RECEIVED
   10/5/16                Wire             $ 887,979.52        $   887,979.52
   10/5/16                Wire             $ 361,210.12        $   361,210.12
   9/28/17                Wire             $ 267,107.01        $   267,107.01
   4/19/18                Wire             $ 300,000.00        $   300,000.00
   9/18/19        Check (NCOA update)      $         950.00    $       950.00
    4/7/20                Wire             $ 1,000,000.00                       $ 1,000,000.00
   3/30/22                Wire             $ 545,172.66                         $ 545,172.66
    4/5/22                Wire             $ 140,347.18                         $ 140,347.18
              TOTAL ADMIN COSTS (invoices
                                           $ 3,502,766.49      $ 1,817,246.65   $ 1,685,519.84
                  through August 2021)

            ADDITIONAL ADMINISTRATION INVOICES
 9/21 - 12/21 Claims Admin: Sept - Dec, 2021 $ 22,922.69
  1/22 - 5/22 Claims Admin: Jan - May, 2022 $  76,317.44
                   TOTAL NEW INVOICES        $ 99,240.13
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The Notice Company, Inc.        CRT INDIRECT PURCHASER                        6/15/22
                                     COST SUMMARY
             TOTAL ADMIN COSTS (invoices
                                              $ 3,602,006.62
                  through May 2022)

               GRAND TOTAL: NOTICE &
                                              $ 6,405,190.04   $ 1,817,246.65   $ 4,407,363.26
                         ADMIN
               Portion Paid by Defendants     $ 6,224,609.91
              Portion Paid by Class Counsel   $    81,340.00
                Portion Currently Unpaid      $    99,240.13

                   PROJECTED COSTS
                Administration and Check
                        Issuance
                         Postage
                      Declarations
               TOTAL (Excludes Costs for a
                Possible Second Round of       $500,000 to
                      Distribution)             $600,000
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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT C
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                               US CENSUS DATA (2020)

                                      Resident Population
                Area                                        % Share
                                        (April 1, 2000)

1      Arizona                                 5,130,632        3.548%
2      California                             33,871,648       23.421%
3      District of Columbia                      572,059        0.396%
4      Florida                                15,982,378       11.051%
5      Hawaii                                  1,211,537        0.838%
6      Illinois                               12,419,293        8.587%
7      Iowa                                    2,926,324        2.023%
8      Kansas                                  2,688,418        1.859%
9      Maine                                   1,274,923        0.882%
10     Michigan                                9,938,444        6.872%
11     Minnesota                               4,919,479        3.402%
12     Mississippi                             2,844,658        1.967%
13     Nebraska                                1,711,263        1.183%
14     Nevada                                  1,998,257        1.382%
15     New Mexico                              1,819,046        1.258%
16     New York                               18,976,457       13.121%
17     North Carolina                          8,049,313        5.566%
18     North Dakota                              642,200        0.444%
19     Oregon                                  3,421,399        2.366%
20     South Dakota                              754,844        0.522%
21     Tennessee                               5,689,283        3.934%
22     Vermont                                   608,827        0.421%
23     West Virginia                           1,808,344        1.250%
24     Wisconsin                               5,363,675        3.709%
                              Total          144,622,701     100.000%
